10
1
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26

28

DAVID L. ANDERSON (CABN 149604) ORIGINAL

United States Attorney

HALLIE HOFFMAN (CABN 210020)
Chief, Criminal Division

MICHELLE J. KANE (CABN 210579)
Assistant United States Attorney

1301 Clay Street, Suite 3408
Oakland, California 94612
Telephone: (510) 637-3680
FAX: (510) 637-3724
michelle.kane3(@usdoj.gov

 

Attorneys for the United States

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
SAN FRANCISCO DIVISION

UNITED STATES OF AMERICA, ) NO. CR 14-00126 EXE
)
Plaintiff, ) APPLICATION AND [PROPOSED] ORDER FOR
) UNSEALING
% )
)
NIKITA KISLITSIN, )
)
Defendant. )
)
)

 

 

 

The United States respectfully moves this Court to unseal this matter, including the Indictment
and arrest warrant. The defendant remains a fugitive but the United States believes that the grounds for
filing the documents under seal no longer exist.

DATED: Mav. ou ; 2.030 Respectfully submitted,

DAVID L. ANDERSON
United States Attorney

 

 

eB J. KANE
Assistant United States Attorney

APPL. & [PROPOSED] ORDER
14-00126 EXE

 
ve

o CO AN BW A Se WwW NK —

NO NM BR PO DD KD NR RD ROO ee eet
[oe © > OS > © = ©) Oo i ~  o.  > )

 

 

ORDER

On the motion of the United States, and good cause appearing therefor, the Court HEREBY

ORDERS that the above-captioned matter be unsealed and that the Indictment and arrest warrant shall

be placed on the public docket.

DATED: 4 -U- Te

APPL. & [PROPOSED] ORDER
14-00126 EXE

Neen pS S—

IN. JAQQUELINE SCOTT CORLEY
ted Aap Magistrate Judge

 
